Case 3:20-cv-00803-RDM-CA Document 32 Filed 10/13/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

RICHARD STEWART, : Civil No. 3:20-cv-803
Petitioner - (Judge Mariani)
\ FILED
: : SCRANTON
SCOTT FINLEY, . OCT 48.2921
i
Respondent ra
ORDER BS

AND NOW, this [fe day of October, 2021, upon consideration of the petition for
writ of habeas corpus pursuant to 28 U.S.C. § 2241, and for the reasons set forth in the
accompanying Memorandum, IT IS HEREBY ORDERED THAT:

1. The petition for writ of habeas corpus is DENIED. (Doc. ‘).

2. The Clerk of Court is directed to CLOSE this case.

3. Petitioner's pending motions (Docs. 28, 30) are DISMISSED as moot.

    

 

Robert D. Mariani"
United States District Judge
